 

Case 3:16-cr-00441-EMC Document1 Filed 10/20/16 Page 1 of 7

A0'257 (Rev. 6/78)

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. ey

 

BY: L] compLaint LJ inFoRMATION [X] INDICTMENT
L] SUPERSEDING

 

 

Name of District Court, and/or Tondo: 1. Loonie?”
NORTHERN DISTRICT Gp cALiFgR

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OFFENSE CHARGED
SAN FRANCIS Sow on OT.
Counts 1-5: 18 U.S.C. § 2113(a) - Bank or Credit Union [_] Petty Ae D 7 Tri OF oy
Robbery .
Count 6: 18 U.S.C.§ 922(g)(1) - Felon in Possession of a C] Minor r- DEFENDANT - U.S E ouler tH 0/9
Firearm . r
Misde-
[1 meanor } YOLANDA BROWN, a/k/a "Yo Yo"
Fel
“ony 7 COURT NUMBER
PENALTY: See Attached , 4 4 l .
— DEFENDANT
PROCEEDING IS NOTIN CUSTODY
. as Has not been arrested, pending outcome this proceeding.
Name of Complaintant Agency, or Person (& Title, if any) 1) i: If not detained give date any prior
tgs summons was served on above charges
Federal Bureau of Investigation
person is awaiting trial in another Federal or State Court, 2) [_] 's a Fugitive
x) give name of court
U.S. v. Brown, CR 15-442 TEH 3) [_] !s on Bail or Release from (show District)
this person/proceeding is transferred from another district
O per (circle one) FRCrp 20, 21, or 40. Show District
IS INCUSTODY
4) On this charge
this is a reprosecution of
charges previously dismissed 5) On another conviction
O which were dismissed on motion SHOW OU [_] Federal [] State
of: DOCKET NO. 7
6) [_] Awaiting trial on other charges
U.S. ATTORNEY DEFENSE
U U If answer to (6) is "Yes", show name of institution
this prosecution relates to a ' "
pending case involving this same Has detainer L] Yes sive date
defendant MAGISTRATE been filed? [_] No filed
CASE NO.
prior proceedings or appearance(s) DATE OF » Month/Day/Year
[_] before U.S. Magistrate regarding this ARREST
defendant were recorded under ———— Or... if Arresting Agency & Warrant were not
Name and Office of Person DATE TRANSFERRED Month/Day/Year
BRIAN J. STRETCH TO U.S, CUSTODY

Furnishing Information on this form
[x] U.S. Attorney [] Other U.S. Agency

 

Name of Assistant U.S.

Attorney (if assigned) SCOTT D. JOINER

 

 

PROCESS:
[-] SUMMONS NO PROCESS* [“] WARRANT

If Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

 

Comments:

 

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

 

 

[_] This report amends AO 257 previously submitted

 

 

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 
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COUNT ONE

COUNT TWO

COUNT THREE

COUNT FOUR

COUNT FIVE

COUNT SIX

PENALTY SHEET ATTACHMENT

18 U.S.C. § 2113(a) — Robbery of Wells Fargo (01/11/2016)
Maximum Prison Term of 20 years.

Maximum Fine of $250,000.

Maximum Term of Supervised Release of 3 years.
Mandatory Special Assessment of $100

18 U.S.C. § 2113(a) — Robbery of Patelco Credit Union (01/13/2016)

Maximum Prison Term of 20 years.

Maximum Fine of $250,000.

Maximum Term of Supervised Release of 3 years.
Mandatory Special Assessment of $100

18 U.S.C. § 2113(a) — Robbery of Patelco Credit Union (02/19/2016)
Maximum Prison Term of 20 years.

Maximum Fine of $250,000.

Maximum Term of Supervised Release of 3 years.

Mandatory Special Assessment of $100

18 U.S.C. § 2113(a) — Robbery of Citibank (06/09/2016)
Maximum Prison Term of 20 years.

Maximum Fine of $250,000.

Maximum Term of Supervised Release of 3 years.
Mandatory Special Assessment of $100

18 U.S.C. § 2113(a) — Robbery of Wells Fargo (06/16/2016)
Maximum Prison Term of 20 years.

Maximum Fine of $250,000.

Maximum Term of Supervised Release of 3 years.

Mandatory Special Assessment of $100

18 U.S.C. § 922(g)(1) — Felon in Possession (07/29/2016)
Maximum Prison Term of Ten Years;

 

. Maximum Fine of $250,000

Maximum Term of Supervised Release of Three Years;
Mandatory Special Assessment of $100
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GAnited States District Court Seon "es

FOR THE
NORTHERN DISTRICT OF CALIFORNIA

 

VENUE: SAN FRANCISCO

 

UNITED STATES OF AMERICA,

CR16

YOLANDA BROWN
a/k/a "Yo Yo"

 

DEFENDANT(S).

 

INDICTMENT

VIOLATIONS: 18 U.S.C. § 2113(a) — Bank and Credit Union
Robbery (Counts One through Five); 18 U.S.C. § 922(g)(1) — Felon in Possession
of a Firearm (Count Six); 18 U.S.C. § 924(d)(1) — Forfeiture of Firearm and Ammunition

 

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Clerk

 

 

 
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BRIAN J. STRETCH (CABN 163973) Ce Se 20 bi
United States Attorney LEpy Ga 12 4: 2S
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O13 ihlop G
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA SI
SAN FRANCISCO DIVISION :
UNITED STATES OF AMERICA, C R 1.6 0 4 4 ]
J .
Plaintiff, ) VIOLATIONS: 18 U.S.C. § 2113(a) — Bank and
) Credit Union Robbery (Counts One through Five); 18
Vv. ) U.S.C. § 922(g)(1) — Felon in Possession of a Firearm
) (Count Six); 18 U.S.C. § 924(d)(1) — Forfeiture of
YOLANDA BROWN, ) Firearm and Ammunition
a/k/a “Yo Yo,” )
) SAN FRANCISCO VENUE
Defendant. )
)
)
INDICTMENT
The Grand Jury charges:
COUNT ONE: (18 U.S.C. § 2113(a) — Bank Robbery)

1. Onor about J anuary 11, 2016, in the Northern District of California, the defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
knowingly took by intimidation from the persons and presence of employees of Wells Fargo Bank,
located at 2055 Chestnut Street, San Francisco, California, money belonging to and in the care, custody,
control, management, and possession of Wells Fargo Bank, the deposits of which were then insured by
the Federal Deposit Insurance Corporation (FDIC), in violation of Title 18, United States Code, Section
2113¢a).

INDICTMENT

 
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COUNT TWO: (18 U.S.C. § 2113(a) — Credit Union Robbery)

2. On or about January 13, 2016, in the Northern District of California, the defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
knowingly took by intimidation from the persons and presence of employees of Patelco Credit Union,
located at 1358 Fairmont Drive, San Leandro, California, money belonging to and in the care, custody,
control, management, and possession of Patelco Credit Union, the accounts of which were then insured
by the National Credit Union Administration (NCUA), in violation of Title 18, United States Code,
Section 2113(a). |
COUNT THREE: (18 U.S.C. § 2113(a) — Credit Union Robbery)
3. On or about February 19, 2016, in the Northern District of California, the defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
knowingly took by intimidation from the persons and presence of employees of Patelco Credit Union,
located at 1358 Fairmont Drive, San Leandro, California, money belonging to and in the care, custody,
control, management, and possession of Patelco Credit Union, the accounts of which were then insured
by the National Credit Union Administration (NCUA), in violation of Title 18, United States Code,
Section 2113(a).
COUNT FOUR: (18 U.S.C. § 2113(a) — Bank Robbery)
4. On or about June 9, 2016, in the Northern District of California, the defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
knowingly took by intimidatio, from the persons and presence of employees of Citibank, located at 2400
19th Avenue, San Francisco, California, money belonging to and in the care, custody, control,
management, and possession of Citibank, the deposits of which were then insured by the Federal
Deposit Insurance Corporation (FDIC), in violation of Title 18, United States Code, Section 2113(a).
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INDICTMENT

 
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COUNT FIVE: (18 U.S.C. § 2113(a) — Bank Robbery)
5. On or about June 16, 2016, in the Northern District of California, the defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
knowingly took by intimidation from the persons and presence of employees of Wells Fargo Bank,
located at 3365 Deer Valley Road, Antioch, California, money belonging to and in the care, custody,
control, management, and possession of Wells Fargo Bank, the deposits of which were then insured by
the Federal Deposit Insurance Corporation (FDIC), in violation of Title 18, United States Code, Section
2113(a).
COUNT SIX: (18 US.C. § 922(g)(1) — Felon in Possession of a Firearm and Ammunition)
6. On or about July 27, 2016, in the Northern District of California, the defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
having been previously convicted of a crime punishable by a term of imprisonment exceeding one year,
unlawfully and knowingly possessed a firearm, specifically: one Taurus PT 945, .45 caliber ACP semi-
automatic pistol, with the serial number obliterated except for the number 7, in and affecting interstate
and foreign commerce, in violation of Title 18, United States Code, Section 922(g)(1).
FORFEITURE ALLEGATIONS: (18 U.S.C. § 924(d)(1))
- The allegations contained in Count Six of this Indictment are realleged and by this reference
fully incorporated herein for the purpose of alleging forfeiture pursuant to the provisions of 18 U.S.C.
§ 924(d)(1). .
Upon a conviction for the offense alleged in Count Six above, defendant,
YOLANDA BROWN,
a/k/a “Yo Yo,”
shall forfeit to the United States any firearm or ammunition involved in or used in any knowing
violation of said offense, including but not limited to the following property: one Taurus PT 945, .45

caliber ACP semi-automatic pistol, with the serial number obliterated except for the number 7; all in

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INDICTMENT

 
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violation of Title 18, United States Code, Section 924(d)(1).

Yof: 30/16

A TRUE BILL.

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DATED:

 

BRIAN J. STRETCH
United States Attorney

Ath. | Muy

STEPHEN J.MEYER / ‘
Chief, Organized Crime Strike Force

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(Approved as to form: — “” C Z )
AUSA SCOTT D. JOINER

INDICTMENT

 
